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United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Gase number prenown~                                                      Chapter     11
                                                                                                                      ❑ Check if this an
                                                                                                                        amended filing




Qfficial Form 201
Voluntary Petition for Eton-Individuals Filing for Bankrupficy                                                                                      4„~
If more space is needed, attach a separate sfieet to thts farm. Qn the top of any additional pages, writs trig debtor's name and case number(if known).
For more infbrmatian, a separate document, lnafrucifons for Bankruptcy dorms for Non-lndiv/duafs, is availaiiie.


1.    Rebtor's name               Highiand Ca~tai Management L.P.

2.    Ali other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer tdentlflcatlon     XX-XXXXXXX
      Number(EINj


4.    Debtor's address            Princip~t place of business                                  Mailing address, if different from principal place of
                                                                                               business

                                  30Q Crescent Court
                                  Suite 70Q
                                  Dallas,'CX 75201
                                  Number,Skreet, City, State & ZtP Code                        P.O. Box, Numbor, Street, City, State &ZIP Code         '~

                                  Qallas                                                       l.acation of principal assets, if different from principal
                                                            _.__                               place of business
                                  County
                                                                                                Number, Street, City, State &ZIP Code


 5.   Qebtor's websfte(URy        wtivw.hi~hlandc~


6.    Type of debtor              ❑ Cprporation (including Limited Liabil(ty Company(LLC} and Limited ~iabifity Partnership (LLP))
                                  ■ Partnership (excluding LAP}
                                  D Qthec Specify:     __                                                        _~




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Debtor                                                                                               Case number(i/known)
         Highland Capital Management, L.P.
         Name


7.   Describe debtor's business A. Check one.
                                       ❑ Heaith Care Business (as defined in 11 U.S.C.§ 101(27A))
                                       ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101{51 B))
                                       D Railroad {as defined in 11 U.S.C. § 101(44)}
                                       O Stockbroker {as defined (n 11 U.S.C.§ 101(53A)}
                                       Q Commodity Broker {as defined in 11 U.S.C.§ 101(6))
                                       D Giearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■ None of the above

                                       e. Checkall.fhat-apply
                                       D Tax-exempt entity{as described in 26 U.S.C. §501)
                                       ❑ Investment company, includln~ hedge fund or pooled lnvestmeni vehicle (as defined in 15 U.S.C. §BOa-3)
                                       III investment advisor(as defined in 15 U.S.C. §80b-2(aj(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http•tlwww uscourts qov/four-d3git-national-association-naics-codes.
                                               5259


8.   Under which chapter of tha        Gheck one:
     0ankruptcy Cods is the            ~ Chapter 7
     debtor filing?
                                       D Chapter 9
                                       ■ Chapter 11. Check ai!that apply.
                                                           p    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates}
                                                                are less than $2,725,625(amount subject to adJustment on 4!01122 and every 3 years after Ehat).
                                                           O    Thedeato~ is. a small business debtor as defined in 11 V.S.C. § 101(51 D). If the debta~ is a small
                                                                business debtor, aftach fhe.most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1146(9)(8).
                                                           D    A plan is being filed with this petition.
                                                           ❑    Acceptances of the plan were soifaited prepotition from one or more classes of credftors, in
                                                                accordance with i1. U.S.C. § 1126(b).
                                                           ❑    The debtor is required to 81e periodic reports-(for example, 10K and 10Qa with fhe Securities and
                                                                ~acchange Commission according to § 13or 15(d) of the Securities Exchange Act of 1934. ~(le the
                                                                attaahirient to Voluntary Petrtfon for Non-individuals Filing for 8ankrapfcy under Ghapfer 17
                                                                (Official Form 201Aj with ihis form.
                                                           D    The debtor is a shell company as defined in the Securities Exchange Aet of 1934 Rule 126-2:
                                       ❑ Chapter 12



9.   Were prior bankruptcy             ~ Na,
     Cases filed by or against
     tfie debtor within the last 8     ❑Yes.
     years?
     If more than 2cases, attach a                                                       When                               Case number
     separate list.                             District
                                                District                                 When                               Case number


10. Are any bankruptcy cases           ■ No
    pend{ng or being flied by a
    business partner or an             D YPs.
    affiliate of the de6tor7
     List all cases. If more than 1,                                                                                    Reiatiohship
     attach a separate list                     pebtor           __..
                                                District                                 1Nhen                          Case number, if known




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oeb~or   Highland Capital Management, L.P.                                                         Case number(u known)
         Jf'a'ma __._.----


71. Why Is the case filed in      Check alt that apply:
    this dfsfrlct?
                                  ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any otter district.
                                  ❑      A bankruptcy case eonceming debtor's afflllate, general partner, or partnership is pending in this district.

12. Does the debtor awn or        ■ No
    have possession of any
                                             Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal     D Yes.
    property that needs
    immediate attentlo~?                     Why does the property need immediate attention?(Check al! that apply.)
                                             C7 it poses ar is alleged to pose a threat of Imminent and identifiable hazard to public health or safety.
                                               What is the hazard?      ____.~          ~                      ~.____..._._..___
                                             O !t needs to be phys{cally secured or protected from the weather.
                                             Q It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, orsecurities-related assets or other options).
                                             D ether
                                             Where is the property?
                                                                              Number, Street, City, State &ZIP Code
                                             is the property Insured?
                                             O No
                                             O Yes. Insurance agency
                                                    Gankack name
                                                        Phone


         Statistical and administrative information              '

13. D'ebtor's estimation of                Check one:
    available funds
                                           ■Funds will be avaiEabie for d3stributfon to unsecured creditors.
                                           Q After any administrative expenses are-paid, na funds will be available fo unsecured creditors.

14. Estimated number of           ❑ 1-49                                          ❑ 1,000-5,000                               ❑ 25,001-50,000
    creditors                     D 50-99                                         D 5401-10,000                               ❑ 50,001-1DO,OQO
                                  D 1Q0-199                                       ❑ 10,001-25,000                             ❑More than100,000
                                  I~ 200-999


15, Estimated Assets              ❑ $p - $b0,000                                   ❑ $1,Q00,001 - $10 million                 D $500,D00.~01 - $1 billion
                                  D $50,Op1 - $100,000                             ❑ $10,OdQ,~01 - $5D million                ❑ $1,000,000,001 -X10 billion
                                  ❑ $100,Q01 - $5Q0,000                            D $54,Q00,001 - $100 million               ❑ $10,000,00Q,001 - $5Q bif(ion
                                    $500,001 - $1 milUan                           ■ $1Q~,~OQ,OQ1 - $500 million              O More than X50 billion


16. Estimated Uabifities       ~ Q $p - $50,000                                    ~ $1,000,001 - $i0 million                 ❑ ~w5Q~,000,001 - $9 billion
                                 O $50,001 - $100,00                               C7 $10,400,001 - $50 million               D $1,000,000,001 - $10 billion
                                 D $100,401 •$500,OD0                              ❑ ~50,000,Q01 - $100 million               D $10,000,000,001 - $5Q billion
                                 ❑ $500,001 - $1 million                           ■ $1t}0,040,fl01 -X500 million             Cl More than $50 billion




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Qebtor   Highland Capital Management, L.P.                              T                         Case number (ifknown)
         Name


         Request for Relief, Declaration, and Signatures

WARNING --Bankruptcy fraud is a serious crime. Making a false statementln connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 13A1, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of tiEle 11, UniEed States Code, specified in Phis petition.
    representative of debtor
                                 i have been authorized to file this pet(tian on behalf of the debtor.

                                  have examined the information in this petltion and,have a reasonable belief that the information is trued and correct.

                                 i declare under penalt of perj ry that.the foregoing is true and correct.

                                 Executed on       `~ ~~              ~~'
                                                   Mh /  / YY
                                                                                                         Strand At3visars, fnc., General Partner
                             X                                                                           by: James D. Dandera, President
                                 Signatu        authod       resentative of debtor                       Printed naEne

                                 Title




                             X                                                                            Qate ~~ ~/~~`~G~~
18. Signature of attorney
                                         ture of aktornay                                                        MMI DD l YYYY

                                    mes ~. O'Neill
                                 Printed name

                                 Pachulski Sfang Ziehi &Janes ALP
                                 Ffrm name

                                 S19 N. Market Street
                                 17th Floor
                                 Wilmington, RE 19899
                                 Number, Street, Gity, State &ZIP Cade


                                 Contact phone       ~4?»6~~-4'~~4               Email address        joneiilQpszjiaw.com

                                 4042 tiE                                                       ___
                                 Bar number and State




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                          ACTION ~Y WRITTEN CO1~ISENT ~F
                            THE SOLD G~lYEI2AI~ PARTNCR
                                              or
                       HIGHLAND CAPITAL M:ANAGE1VIElVT, L.P.
                           (a Delaware limited partnership)

       The undersigned, being the sole .general partner (the "General Partner"} of Highland
Capital Maz~ageinent; L.P. (tl~e "Gozxi~any"), hereby takes the following actions and adopts tfie
following resalutians:

             WHEREAS, the General Partner, acting .pursuant to tl~e laws- of the State
       of Delaware, has considered the financial and operational aspects of the
       Company's business;

               WHEREAS, the General Partner has reviewed the (listorical performance
       of the Company, the outlook for the Company's assets ar~d over~.11 performance,
       and the current and long-term liabilities of the Company;

               WHEREAS, the General Partner has carefully reviewed and considered
       the materials presented to it by the rnanag8ment pf and the advisors to the
       Company regardi~lg the possible need to undertal~e a financial ar~d operational
       restructuring of the Company; end

               WHEREAS, the General Partner has analyzed each Qf the financial and
       strategic alternatives available to the Catnpany, including those available on a
       consensual basis with the principal stakeholders of tl~e Connpany, and tf~e impacf
       of the foregoing on the Company's business ant! its stakeholders.

               NOW, THEREFORE, BE ~T RESOLVED, that ,in t11e judgment of the
       General Partner, it is desirable acrd in the best interests of the Company, its
       creditors, partners, and other interested patties that a petition be filed by the
       Company seeking relief~nd~r~ t~~ provisions of chapter I1 of title 11 of 'the
       United States Code in the United- States Bankruptcy Gouc-~ for ttze District of
       Delawat~e;

               RESOLVED, that the officers of the general Pa~~tner (each, an
       "AuthorizQd officer") be, and 0ach crf them. hereby- is, -authorized, empowered
       and directed on behalf of the Company to ~x~cute, verify acid ~l~ ail {petitions,
       schedules, lists, ai d other papers. or documents, and to take and perform any and
       alI further actiaEls and steps that any such Authorized Officer deems necessary,
       desirable and proffer in connection with the Company's chapter 11 case, with a
       view to the successful prosecutiozi of such case, including all actions and steps
       deemed by any such Authori~d Officer to be aeeessary or desirable to the
       develop, file and prosecute: to confirmation a chapter 11 }~laia and relateei
       disclosure stateme~~t;.
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        RES4I~VED, that the Authorized Officers be, and each of them Hereby is;
authorized, empowered and. directed, on behalf of the Company, to retain the law
firm of Fachulski Stang Zieh(& 3ones LLP {"PSG&J")as bankeuptey counsel_ to
represent and assist the Company in carrying; out. its duties. under• chap#er 11 of the
Bankruptcy Code, and to take any and ali actions to adv~lce the Company's
rights in connection therewith, and the Authot•ized Of~eers are hereby authorized
and directed to execute appropriate retentiosi agceetx~ents, pay appropriate
retainers prior to and immediately upon the,~ling of the bankruptcy, and to cause.
to be filed an appropriate application for authority to refain ti7e set~vices of PSZ&J;

        RESOLVED,that the Authorized Officers be, and each of them hereby is,
authorized, empo~~vered and directed, o~~ behalf Qf tl~e Company, to retain anct
employ Development Specialists; Inc. (".~.SI`"} to p~c~vid~ the Company with
Bradley D. Sharp as chief restructuring officer ("~'RO"} and additional personnel
to assist in the execution of the day to day duties as CRC?. The CRO, subject to.
oversight of the General Partner will lead the Company's restructuring efforts
along with the Company's advisors, and to take any a~1d all actions to adva~ice the
Company's rights in connection thet~ewith, and the Authorized officers are hereby
authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bantc~uptey
petition, and to cause to be filed an appropriate application for autk~or ty to hire
the CRO and Iiis affiliated firm, DSI;

        I~ES(JLVED, that the Authorizer( {)~cers 6e, and- each of them hereby is,
authorized, empowered and directed, on behalfof the Company; to employ any
Uthe~• professionals necessary ~o assist the Company in carrying .out .its duties
under the Bankruptcy Code; and in connection therewith, the Aufihc~rized Of~eers
are hereby authorized and directed to execute appropriate t~etenCion agreements,
pay appropriate retain~~•s prior to or:immediately upon the filing of the chapter 11
case and cause to be filed appropriate applications with the bankruptcy court for
authority to retain the services of any other professionals, as necessary, azlcl on
such terms as are deemed -necessary, desirable and proper;.

        RESOLVCD,that the Authorized Officers be, and each of them Hereby is,
authorized, empowered and directed, ot~ behalf of the Company, to obtain post-
pehition ~naricing and obtain permission to use exis~in~ cash collateral according
to termis which may be negotiated by or on behalf at`the Company, and to enter
into any guaranties and to pledge and grant_ liens on its assets as may be
conteci~plated by or required under the terms o~ si~cl~ post-petition ~nan~i~~g or
cash colIaCeral arrangement;. and in connection therewi~ll, the Authorized C~ffcers
shall be, and each of them hereby is, hereby ac~tllari~ed, e~npowereci and directed;
on behalf of the Company, to execute appropriate loan agreerr~ents, cash collateral
agreements and related ancillary doeunnents;

        g.ESOLVED, that the Authar'ized (~~ficers be, anti each of t~~ezn hereby is,
autk~arized, empowered and directed, on E~eh~lf of t(e Corripany, to take any and
all actions, to exeeitte, deliver, certify,. ale and/or reco~~d an.ci .perform any and all
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documents, agreements, instrui3lents, motions, affidavits, applications -for
approvals or rulings of governmental ar regulatory authorities ar certificates and
to take any and afl actions and steps deemed by any such Authorized Qf~cer to be
necessary or desirable to carry out t(7e purpose and inte►~t o~ each of the foregoing
resolutions and to effectuate a successful chapter l l case;

        RESOLVED,that any and all actions heretofore taken by any Authorized
(Jfficer in .the name and on behalf of the Company iri furtherance of the purpose
and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in al( respects.


                             [Signature pagesfollow)
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       IN WITNESS WHEREOF,the undersigned have duly executed this Written Consent as
of October 7, 20i 9.

                                         STRAND ADVISORS,INC.
                                         .Sole General Partner of Higl~lanci Capital
                                          ManagemEnt, L.P,



                                              .fames D. Dot~dero
                                              Presidefit




               SIGNff.TUliEPACE TQ 7fiG ACTION BY WRITTEN CONS.G'NT tIl?
         THG SOLE G~'N~.YtftL Pf(RTNL'R OF HIGHLAND CAPITAL 1tfiANtiGEh1~~'T, L;P.
                                     Case 19-12239-CSS                     Doc 1             Filed 10/16/19          Page 9 of 16
   Fill in this information to identify the case:

   Debtor name    HIGHLAND CAPITAL MANAGEMENT, L.P.
   United States Bankruptcy Court for the:    District of Delaware
                                                                                   (State)
                             19-                                                                                                                      Check if this is an
   Case number (If known):
                                                                                                                                                      amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                              12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


   Name of creditor and complete             Name, telephone number,        Nature of the        Indicate if claim   Amount of unsecured claim
   mailing address, including zip            and email address of creditor claim                 is contingent,      If the claim is fully unsecured, fill in only unsecured
   code                                      contact                       (for example, trade   unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                           debts, bank loans,    disputed            claim amount and deduction for value of collateral or
                                                                           professional                              setoff to calculate unsecured claim.
                                                                           services, and
                                                                           government
                                                                           contracts)
                                                                                                                     Total claim, if    Deduction for      Unsecured claim
                                                                                                                     partially          value of
                                                                                                                     secured            collateral or
                                                                                                                                        setoff


1. Redeemer Committee of Terri Mascherin                                   Litigation            Contingent                                              $189,314,946.00
   the Highland Crusader                Tel: 312.923.2799                                        Unliquidated
   Fund                                 Email:                                                   Disputed
   c/o Terri Mascherin, Esq.            tmascherin@jenner.com
   Jenner & Block
   353 N. Clark Street
   Chicago, IL 60654‐3456
2. Patrick Daugherty                    Thomas A. Uebler    Litigation                           Contingent                                              $11,700,000.00
   c/o Thomas A. Uebler,                Tel: 302.468.5963                                        Unliquidated
   Esq.                                 Email:                                                   Disputed
   McCollom D'Emilio Smith              tuebler@mdsulaw.com
   Uebler LLC
   2751 Centerville Rd #401
   Wilmington, DE 19808
3. CLO Holdco, Ltd.                     Grant Scott           Contractual                                                                                $11,511,346.00
   Grant Scott, Esq.                    Tel: 919.854.1407     Obligation
   Myers Bigel Sibley &                 Email:
   Sajovec, P.A.                        gscott@myersbigel.com
   4140 Park Lake Ave, Ste
   600
   Raleigh, NC 27612




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  Debtor       HIGHLAND CAPITAL MANAGEMENT, L.P.                                      Case number (if known)19-
              Name




4. McKool Smith, P.C.         Gary Cruciani           Professional               Contingent                       $2,163,976.00
   Gary Cruciani, Esq.        Tel: 214.978.4009       Services                   Unliquidated
   McKool Smith               Email:                                             Disputed
   300 Crescent Court, Suite gcruciani@mckoolsmith.
   1500                       com
   Dallas, TX 75201
5. Meta‐e Discovery LLC       Paul McVoy              Professional                                                $1,852,348.54
   Paul McVoy                 Tel: 203.544.8323       Services
   Six Landmark Square, 4th Email:
   Floor                      pmcvoy@metaediscover
   Stamford, CT 6901          y.com
6. Foley Gardere              Holly O'Neil            Professional                                                $1,398,432.44
   Holly O'Neil, Esq.         Tel: 214.999.4961       Services
   Foley & Lardner LLP        Email: honeil@foley.com
   2021 McKinney Avenue
   Suite 1600
   Dallas, TX 75201
7. DLA Piper LLP (US)         Marc D. Katz            Professional                                                $994,239.53
   Marc D. Katz, Esq.         Tel: 214.743.4534       Services
   1900 N Pearl St, Suite     Email:
   2200                       marc.katz@dlapiper.com
   Dallas, TX 75201
8. Reid Collins & Tsai LLP    William T. Reid         Professional                                                $625,845.28
   William T. Reid, Esq.      Tel: 512.647.6105       Services
   810 Seventh Avenue, Ste Email:
   410                        wreid@rctlegal.com
   New York, NY 10019
9. Joshua & Jennifer Terry Brian Shaw                 Litigation                Contingent                        $425,000.00
   c/o Brian P. Shaw, Esq. Tel: 214. 239.2707                                   Unliquidated
   Rogge Dunn Group, PC email:                                                  Disputed
   500 N. Akard Street, Suite shaw@roggedunngroup.
   1900                       com
   Dallas, TX 75201
10.NWCC, LLC                  Michael A. Battle       Litigation                Contingent                        $375,000.00
   c/o of Michael A. Battle, Tel: 202.371.6350                                  Unliquidated
   Esq.                       Email:                                            Disputed
   Barnes & Thornburg, LLP mbattle@btlaw.com
   1717 Pennsylvania Ave
   N.W. Ste 500
   Washington, DC 20006‐
   4623
11.Duff & Phelps, LLC         David Landman           Professional                                                $350,000.00
   c/o David Landman          Tel: 216.363.4593       Services
   Benesch, Friedlander,      Email:
   Coplan & Aronoff LLP       dlandman@beneschlaw.
   200 Public Square, Suite com
   2300
   Cleveland, OH 44114‐
   2378
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              Name




12.American Arbitration      Elizabeth Robertson,    Professional                                                 $292,125.00
   Association               Director                Services
   120 Broadway, 21st        Tel: 212.484.3299
   Floor,                    Email:
   New York, NY 10271        robertsone@adr.org
13.Lackey Hershman LLP       Paul Lackey             Professional                                                 $246,802.54
   Paul Lackey, Esq.         Tel: 214.560.2206       Services
   Stinson LLP               Email:
   3102 Oak Lawn Avenue, paul.lackey@stinson.co
   Ste 777                   m
   Dallas, TX 75219
14.Bates White, LLC          Karen Goldberg          Professional                                                 $235,422.04
   Karen Goldberg, Esq.      Tel: 202.747.2093       Services
   2001 K Street NW, North Email:
   Bldg Suite 500            karen.goldberg@batesw
   Washington, DC 20006 hite.com
15.Debevoise & Plimpton      Michael Harrell         Professional                                                 $179,966.98
   LLP                       Tel: 212‐909‐6349       Services
   c/o Accounting Dept 28th  Email:
   Floor                     mpharrell@debevoise.com
   919 Third Avenue
   New York, NY 10022
16.Andrews Kurth LLP         Scott A. Brister        Professional                                                 $137,637.81
   Scott A. Brister, Esq.    Tel: 512.320.9220       Services
   111 Congress Avenue, Ste Email:
   1700                      ScottBrister@andrewsku
   Austin, TX 78701          rth.com
17.Connolly Gallagher LLP Ryan P. Newell             Professional                                                 $118,831.25
   1201 N. Market Street     Tel: 302.888.6434       Services
   20th Floor                Email:
   Wilmington, DE 19801      rnewell@connollygallagh
                             er.com
18.Boies, Schiller & Flexner Scott E. Gant           Professional                                                 $115,714.80
   LLP                       Tel: 202.237.2727       Services
   5301 Wisconsin Ave NW Email: sgant@bsfllp.com
   Washington, DC 20015‐
   2015
19.UBS AG, London Branch Andrew Clubock              Litigation                 Contingent                        Unliquidated
   and UBS Securities LLC Tel: 202.637.3323                                     Unliquidated
   c/o Andrew Clubock, Esq. email:                                              Disputed
   Latham & Watkins LLP      Andrew.Clubok@lw.com
   555 Eleventh Street NW
   Suite 1000
   Washington, DC 20004‐
   130




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  Debtor       HIGHLAND CAPITAL MANAGEMENT, L.P.                                      Case number (if known)19-
              Name




20.Acis Capital               Brian Shaw           Litigation                   Contingent                        Unliquidated
   Management, L.P. and Tel: 214. 239.2707                                      Unliquidated
   Acis Capital Management email:                                               Disputed
   GP, LLC                    shaw@roggedunngroup.
   c/o Brian P. Shaw, Esq. com
   Rogge Dunn Group, PC
   500 N. Akard Street, Suite
   1900
   Dallas, TX 75201




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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )   Chapter 11
                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                      )   Case No. 19-_____ (___)
                                                        )
                               Debtor.                  )
                                                        )

                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:
           Address:




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                   Case 19-12239-CSS     Doc 1      Filed 10/16/19   Page 14 of 16



                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )   Chapter 11
                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                      )   Case No. 19-_____ (___)
                                                        )
                               Debtor.                  )

                             LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:

           Name:            Strand Advisors, Inc.
           Address:         300 Crescent Court
                            Suite 700
                            Dallas, TX 75201

           Name:            The Dugaboy Investment Trust
           Address:         300 Crescent Court
                            Suite 700
                            Dallas, TX 75201

           Name:            Mark K. Okada
           Address:         300 Crescent Court
                            Suite 700
                            Dallas, TX 75201

           Name:            The Mark and Pamela Okada Family Trust – Exempt Trust #1
           Address:         300 Crescent Court
                            Suite 700
                            Dallas, TX 75201

           Name:            The Mark and Pamela Okada Family Trust – Exempt Trust #2
           Address:         300 Crescent Court
                            Suite 700
                            Dallas, TX 75201

           Name:            Hunter Mountain Investment Trust
           Address:         c/o Rand Advisors LLC
                            John Honis
                            87 Railroad Place Ste 403
                            Saratoga Springs, NY 12866

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                        IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )   Chapter 11
                                                    )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                  )   Case No. 19-_____ (___)
                                                    )
                              Debtor.               )
                                                    )

                          CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




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                                Case 19-12239-CSS                            Doc 1           Filed 10/16/19           Page 16 of 16




Debtor name         Highland Capital Management, L.P.

United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

Case number qtr known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing



O~cial Form 202
aecf~ra~ion Under Penalty. of Perjury for.Non-lndividua[ debtors                                                                                       12115


An lndlatduaf who is autharized to ac# on behalf of a non-fndividuai debtor, such as a corporation or partnership, must stgq and submit this
form foC fhe schedules of assefs and liabilities, any other document thaE requires a declaraflon that is not included in tha document, and any
amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the document,
and tha date. Bankruptcy Rules 1008 and 9011.

WARiVING -• aankruptcy fraud is a serious crimes Mak{ng a false staEement, concealing property, or obtaining money or property by fraud fn
connection with a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. g§ 152, 1341,
1598, and 3571.



               Declaration and signature


        am the president, another officer, pr an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of ttis debtor in this case.
                                                                                                                                       correct:
       1 have eacamined the information in the documents checked beipw and i have a reasonable belief that the informatlon is true and

       ❑         Sch€dule ,4/B: Assets--Real and Persona!Property (official Form 206AlB}
       ❑         Schedule D: Creditors Who Nave Claims Secured by Property (Official Form 2064)
       p         Schedule E/F: Creditors Who Have Unsecured Claims(O~cial Form 2Q6ElF)
       Q         ScHedute G: Executory Contracts and Unexpired Leases(Official Form 206G)
       []        Schedule H: Codebtors {Official Form 20fiN)
       Q         Summary of Assets and Liapilities for Non-individuals(O~cial Form 206Sum)
       p         Amended Schedule
       ~         Chapter 1? or Ghapfer9 Cases: LJst of Creditgrs Who Have the 20 Largest Unsecured Cialms and Are Not insfders (Ofticlal Form 204j
                 Qther document that requires a declaration   corporate Ownership Statement, Dist of Equity Hvtdecs, Creditor Matrix
                                                              Certification

       1 deoiare under penalty of perjury that the foregoing is true an             rrect.

        Executed ~n         ~~                                     X                              `~
                                                                       Signature o individual signing on behalf of debtor

                                                                         Frank Waterhouse
                                                                       Printed - name
                                                                        Treasurer of Strand Advisors, inc., General Partner
                                                                       Pos(tion or relationship to debtor




Official Form 2~2                                           Declaration Under Penalty of Perjury #or Non•~ndividual Qebtars
                                                                                                                                            Best Case 8en4auptcy
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